         Case 1:21-cv-00914-YK Document 7 Filed 08/05/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

NAILAH RILEY,                           :
                                        :
                   Plaintiff,           :   CASE NO. 1:21-cv-00914-YK
                                        :
             v.                         :
                                        :   Judge Kane
BLOOMIN’ BRANDS INC.,                   :
D/B/A OUTBACK STEAKHOUSE,               :
                                        :
                   Defendant.           :


                            NOTICE OF DISMISSAL

      Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiff Nailah Riley hereby dismisses all of the claims asserted and that could

have been asserted in Plaintiff’s Complaint, with prejudice, without fees or costs to

any party, and with all rights of appeal waived.

                                            WEISBERG CUMMINGS, P.C.


                                            /s/ Larry A. Weisberg
                                            Larry A. Weisberg
                                            2704 Commerce Drive, Suite B
                                            Harrisburg, PA 17110

                                            Attorney for Plaintiff



Date: August 5, 2021
